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                        Schedule “A”
           Defendants With Store Name and Seller ID
             Defendant/
Def. No.                                  Amazon Seller ID   Amazon ASIN
             Amazon Store Name
1            Go Well                      A1EI53ECSEE358     B07MLH1W35
2            Ahui                         A3U2CPCPJ050N8     B07TX92ZNQ
3            Center Sport Life            ANNI75IPFOMB8      B07MLH29KL
4            Clever Market                A2G8CPMFVS1839     B07MLH29KL

5            Cube Store                   A4KLC6JANYKEQ      B07TRQBNVJ
6            Essentialstore               A3TGAHL4LATVYC     B07S3V85B7
7            LeshionLife                  AQZVMFU5EDRRJ      B07MXNNPXV

9            Mansgoods                    A3LGEKSF23N94S     B07VJ5JDMY
10           Matfapero                    ATCV9G5EHHD4B      B07WMNVQHQ
11           Moonia No. 1 Store           A1NT1LLAH3SCVB     B07QR1V93V
12           MS Hong                      A1MQ17GQ2699WZ     B07S4FY7HM
13           Niuworld                     A3DOF2HOZYWW1W     B07QXDB4YV
14           Pounce'n' Play shop          A23EEJ69XLPF6I     B07S9SSVT3
15           Solclair                     A3CE0WUVA70I2S     B07QQLM9V8
16           Very Happy Shop              AYRFLCGTWYPMK      B07KVF9CTZ
17           WJASI                        A2BLL18GQ2VK41     B07SSXM6FK
18           Yaslin                       AOTR5BEXCZ5V6      B07MWWVZ69
19           Yiwu Lanjie Trading Co.,     A6LZWYNZ7QGCD      B07RJTXGJ3
             Ltd.




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